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        To Judge Arun Subramanian:
        I appreciate the opportunity to tell you my story in my own words. This letter has been difficult
to write. I usually do not like to dwell on the past and I believe many of my early memories have been
suppressed. I have done so, here, in hopes of giving you a broader context about who I am: my
upbringing, my life, and my outlook for the future.
        I grew up in a very religious and sheltered environment. The religious elementary school I was
in did not allow kids to even go to a public library. We did not have a TV in the house, and we were not
allowed to watch movies. I recall at one time being at a birthday party of a kid from a slightly less
religious family where they played one of the Star Wars films. Afterwards, when my parents heard
about that, they got upset at me and said I should have left. I was not allowed to play or even
communicate with non-Jewish or non-Orthodox people, including our neighbors - 1 was once
reprimanded for chatting with the kid my age who lived next door. On another occasion, I got in trouble
with my parents for talking to another kid sitting next to me on an amusement park ride. In addition,
even within the Orthodox community, we were gender segregated. I was not to socialize at all with
girls, and the rules of the faith stated quite explicitly that one could not have any contact with someone
of the opposite gender, even so much as a handshake. You were also not allowed to even look at a girl
with a short skirt, or with a shirt with short sleeves. Many religious newspapers would edit out pictures
of women entirely. Each religious school I went to, from Bais Mikroh in elementary, Toras Chaim in
high school, and Yeshiva University, was gender segregated, and I never received sex ed classes. As a
result of all this, I had very little exposure to modem culture, and I have long found it very awkward to
talk to women. Even today, my exposure to modem culture has been fairly limited, being almost
entirely through the Internet.
        I have long been averse to physical contact with anyone. I

         My memories from this are somewhat vague; I think this was used as punishment at least some
of the time, and I recall not wanting to participate but being forced to. It is possible my aversiveness to
touch traces back to that. Much later on, I learned that I                                     and I suspect
that also played a role in my being contact-averse. I have also long been highly sensitive to light and
noise, which I believe is also related to the diagnoses.
        The principal of that school later pled guilty to federal charges related to an accusation of child
abuse. I don’t recall any specific instances of abuse involving him. What I do remember is being in his
office often and generally being scared of him. It was common knowledge at the school that he would
use corporal punishment on children, and many of us were afraid of him.
        In eighth grade, I
                                         I refused to go to school at all for a period of around one or two
months, until the school agreed to transfer me to a different class

        Through elementary and high school, I was regularly bullied. I learned to run away when
attacked and tried to avoid fights, often unsuccessfully.
        I have continued having issues with physical contact, even in jail. For some reason, it seems
common for inmates to tap each other, typically on the arm or back. Initially, I responded poorly to this
and took it as a sign of aggression. In the jail environment, it is not possible to run away and avoid
someone, and I kept getting triggered and feeling attacked when people would touch me. It was later
explained to me by other inmates that it is usually not meant aggressively, and I have tried to tolerate it,
but it has continued to create issues. I find it difficult to distinguish between aggressive and friendly
behavior, especially around physical contact. I have also witnessed numerous fights in jail, and seen
marks after people have been stabbed, which furthers my concern and the importance of avoiding
ambiguity around such issues. There have been periods that I felt I had to avoid being in my room
alone, in fear of being attacked by other inmates.
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          Orthodox Judaism also had very strict teachings on the topic of sex. Not only is contact with
girls forbidden (let alone premarital sex)                                 The Bible is to be taken entirely
literally. There is a story in Genesis a
         ”) whereupon God smites him and kills him. There are even rules about how one is supposed to
use the bathroom, and how one should minimize the amount of contact one has in the bathroom with
one’s own genitals, as well as which hand one should use, and many others. We were told to take all of
this literally, with the explicit background that breaking these rules is a sin, and sinners will suffer
horribly in Hell.
          At the same time, I felt unfulfilled in school. Half of the day was studying religion. The other
half was various secular classes that I was too advanced for. I had taught myself calculus in 7th grade
and computer programming around the same time. I was many years ahead of the curriculum in the
secular classes. But my parents didn’t let me skip ahead, which created some tension. Instead, I went
through about a dozen psychiatric medications over time. This both stigmatized me, making me feel
that there was something “wrong” with me that needed to be fixed, and had complex side effects on my
emotions. I remember hating the medications and wanting to be off of them.
          It was during this adolescence period when I first discovered pornography. At this point, I was
still religious. I viewed everything associated with sex as wrong, and didn’t really distinguish between
different wrongs. I had a very limited knowledge of the laws. I began looking at erotic and
pornographic online content of people like me - at that time, teenage boys. Over time, as I became less
religious and learned more about modem culture from the internet, I began to realize that child
pornography in particular was considered very bad by society, although I did not fully understand why.
I felt a lot of guilt over what I was doing. Every so often, the guilt would become bad enough and I
would delete everything I had downloaded. But sooner or later, I would be drawn to it again.
          My thinking on the wrongness of child pornography has changed a lot over time. As best as I
can, this is how I recall it evolving over time. Initially, when I was a teenager, I didn’t even put it into a
separate category. I viewed it as wrong for religious reasons, like all pornography. When I stopped
believing in my religion, that no longer applied. At that point, I was dimly aware that it was illegal and
frowned upon by society, and I still had internalized the stigma against sex from my religious
community. I came to regard it as bad primarily as a vice, like drug or alcohol addiction, with the
primary victim being myself. I felt ashamed of it because I thought it was harming me, and because it
was illegal and viewed negatively by society. I didn’t think of it as having other victims. In my mind, I
wasn’t directly hurting anyone other than myself, and any harm had been done in the past. I hadn’t
created or distributed any of the files, and I could see that anything I was downloading was being
downloaded by hundreds, sometimes thousands of others. This is not to minimize my impact, just to
give my point of view at the time I was engaging in this conduct. These feelings of shame only grew
stronger as I learned more about modem culture and realized the depth of the stigma placed on those
who interact with child pornography. I have always believed that actually harming a child, or producing
pornography of a child, was severely wrong, and this has not changed over time.
           After my arrest, I had a lot of time alone to think it through more deeply. I also read a number
of cases which gave me a broader perspective. I now realize where my thinking went wrong. If nobody
was inclined to download child pornography, then there would be less of an incentive to produce it. As
such, everyone who downloads it bears some share of the culpability for its production, and for
encouraging more production by others in the future. In retrospect, I believe I resisted this simple
argument for so long because I could not take responsibility for the implications. I did not want to
admit, even to myself, that my actions had harmed others. Everyone likes to think of themselves as a
good person. But the truth is, as I now understand, my actions were harmful and there were real
victims. I was just fooling myself in pretending otherwise.
          In 2016, while in college, I began an ecommerce business. It primarily sold on Amazon. In 2017
it did over a million in revenue and in the first six months of 2018 it did over two million in revenue.
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My vendors were happy and my customers were happy. However, my competitors were not. One of
them in particular, a multi-billion dollar electronics manufacturer, was so upset that my company was
undercutting it, creating problems for their marketing plans, that they started a campaign to harass me
off of the Amazon platform. For months, they had someone send false complaints to Amazon that
alleged my company was selling counterfeit products. Eventually, in the middle of 2018, my company
was thrown off of Amazon, citing counterfeit concerns, and Amazon illegally kept over 50,000 units of
inventory, which they continued to ship to customers, but simply kept their money.
        At this point, I was still in college full time, hundreds of thousands of dollars in debt, and could
not access my inventory to sell and pay it off. It was a very difficult time for me. I sued Amazon for my
inventory and money as well as the manufacturer that had filed the false complaints. I followed various
civil cases during this period because of the litigation I was involved in. I began using an open-source
project called Courtlistener to track the progress of my own case. Seeing issues with the software, I
helped out the project by contributing code to improve the website in various ways and add features
that helped all users, such as better updating, tracking, and sorting features. Eventually, more than two
years after my company was kicked off of Amazon, I won the case against Amazon and was
reimbursed for the stolen inventory. But by this point, legal expenses had eaten through much of it, and
I was left to start essentially from scratch.
        I got involved in crypto and began researching and commenting on it. Being a known public
commentator on crypto also came with downsides, however. Beginning in the middle of 2021, 1 began
receiving regular threats, some escalating to graphic death threats, including a memorable one that
threatened to cut off my fingers and toes one by one. I kept a folder on my computer with screenshots
of the various threats I received. In 2022, some people reached out to a member of my family and
threatened me through him if I did not pay them large sums of money. This concerned me greatly,
especially because they were trying to pressure me through my family. Later in 2022, it had escalated
to the point that                                           more severe and explicit threats.
        Before doing the Mango trades, I had researched other similar trades. The one I focused on the
most was on related to a small coin called COPE. Mango Markets had allowed borrowing against the
value of COPE. In mid 2022, several months before my own Mango trades, someone made about a
million dollars buying up COPE, borrowing against it on Mango Markets, and then letting it collapse.
As far as I could tell from the news articles and social media discussion about it ( including the Mango
Discord which actively discussed these events), no one had been sued or prosecuted over those trades,
and there did not seem to be any suggestion that it was criminal, or that it violated Mango’s rules.
When looking into the COPE trades, I found that Mango did not pause the protocol after those trades.
Rather, the Mango Treasury/insurance fund paid out to protect the protocol and depositors from losing
funds. Accounts that had negative health were fully liquidated, and if their collateral was insufficient to
repay the debt, the insurance fund kicked in and paid the difference. Mango did not sue anyone for not
repaying debt in connection with the COPE trades, nor did they suggest that it was illegal, or against
any of Mango’s rules. The only change Mango made was voting several days later, via the DAO,
removing the ability to use COPE as collateral for future loans. As far as I can tell, they did not even
prohibit the account that had triggered the COPE liquidations from making future trades or taking out
loans on the platform.
        I figured that if the COPE trades, which made around a million dollars, were legal, then a highly
similar trade, but at a different, larger scale, would also be legal. I was also familiar with other similar
trades on other platforms, such as $200 million in liquidations on the Venus protocol against its native
XVS coin after a pump, and large liquidations and bad debt on the Ichi coin on Rari protocol. For each
of those trades, I reached a similar conclusion on researching news articles and social media: the
portrayal was that these were legitimate trades, with winners and losers, that didn’t violate the law or
any of the rules of the protocol. In fact, I saw discussion of one such trade on a perpetual platform
called GMX that moved the price of AVAX on centralized exchanges to benefit the perpetual positions
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on GMX, highly similar to the Mango trades I would later execute. I saw the GMX strategy praised on
social media as a good way for large institutional traders to earn extra money while trading.
        I believed that smart contracts were, in general, valid legal contracts. That meant that if I could
get the contract to show a profit, my counterparty (in this case, Mango Markets) would be legally
obligated to pay those profits. I did not see any legal issues with doing this, as I did not believe I was
going to make any false statements. I searched for any similar cases involving smart contracts, but was
unable to find any. All of the criminal cases I did find seemed very different from the trades that I
intended to do. All of them involved clearly regulated markets and false statements being made
publicly, or spoofed orders being canceled, or something else that I wasn’t planning on doing. I
searched specifically for Mango Terms of Service and found nothing, and I checked the documentation
and found that using multiple accounts was explicitly permitted. I used the Risk Simulator to simulate
the expected outcome if MNGO were to go to various prices, and viewed that as further proof that this
kind of trade was allowed.
        I did not want to cause users to lose funds with my trades, even if that was legal. Before
executing the trades, I was uncertain as to how high the price of MNGO might go, due to concerns
about liquidity. I thought it was likely that it would rise to a level that ensured a profit but didn’t make
the protocol itself insolvent. As the insurance fund had approximately $70 million in stablecoins alone,
I figured that any profits that I received would likely be fully paid out from the insurance fund, and that
the combination of the insurance fund and liquidations would ensure users didn’t lose any money. I
viewed it as legitimate to be paid out on a winning position from the insurance fund, as it was
specifically designated to pay out profits if the protocol didn’t have enough funds to do so. Such
insurance funds were very common across the industry, including on centralized exchanges. In general,
if an account went into negative health status, an exchange would turn to liquidators, and if that was
insufficient, it would use the insurance fund to pay out the winners on the other side of the trade. Most
exchanges used fees from trading to fund this. Most of the funds that Mango used for its insurance fund
were instead raised by selling the MNGO token to the public, although fees from trading also went into
Mango’s treasury and could therefore also be used for this purpose. Several exchanges had a feature
called “Auto-Deleveraging”, that would be used if the insurance fund was insufficient to pay winning
trades. This would identify the traders who had won the most in a particular market, and reduce their
winnings in order to cover the shortfall. Mango didn’t have Auto-Deleveraging, but it had a similar
concept called “socialized loss”. However, I didn’t want to cause a socialized loss event, as that would
harm users who simply deposited into the protocol.
        A few hours after the trades, Mango published a tweet requesting that I contact them via email,
which I did a few hours after the trades. I also made a proposal. This proposal required Mango to use
the funds I returned, as well as the insurance fund, to make all users whole. I had calculated that the
amount I proposed was sufficient for this. I viewed this as voluntarily participating in an informal
                -
version of Auto Deleveraging and later cited this feature to explain the agreement between me and
Mango, in my tweet thread announcing it.
        After the trades, they quickly became characterized online, in articles and social media, as a
“100M theft.” I disagreed with this characterization but had a growing concern based on the reactions I
was seeing that the law might not agree with me. It was one thing to look at the laws before the trades
and conclude that they permitted what I intended to do, it was another to see thousands of people all
apparently confident that this was illegal, yelling and threatening me by name. I did not see this happen
with the prior trades I had considered most similar to the trade I intended to do, and seeing this strong
reaction made me reconsider whether I had been right about the trades being legal.
        I wanted to finish the negotiations and return the portion of the funds sufficient to make Mango
Markets users whole. I was concerned over the specific threats, including the ones that mentioned my
being in Puerto Rico. I vividly recall being afraid to go out on the street for fear someone would
recognize me, and even once I was in Israel I was afraid to be too visible until Mango users were made
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whole. I never tried to hide my identity -1 knew that the Circle account was in my name and it would
be easy for law enforcement to find out who I was. However, I didn’t expect to be publicly named so
fast, and had expected to have finished negotiating and ensuring that Mango users were fully
reimbursed before my identity would be made public. Had that happened, I would not have felt in
danger from Mango users, since they would not have had any loss. Because my identity was leaked
before the settlement being finalized, I was concerned for my physical safety. I made my first proposal
publicly, in part because I wanted users to know that they would be getting reimbursed in full as soon
as possible. I didn’t want users to be worried while negotiations were happening in secret. I had
previously lost money in a crypto hack that took six months to be reimbursed, as well as others that
were never reimbursed, so f knew how it felt to be on the other end of a trade like this. I tried to
minimize the impact on users as much as possible.
         I kept seeing new legal theories on social media in discussions on the trades. For example, one
lawyer posted that it might be illegal because MNGO was a commodity, a possibility I had not thought
through before the trades. I was not aware prior to the trades of the differences in the artificiality
standard in commodity and securities law. I was not aware of the complex regulations about “mixed
swaps”, or many of the other theories that people suggested might apply to the Mango trades. I was
also more broadly concerned that I had missed laws or regulations that might apply, or that a court
might disagree with my interpretation of the laws I had looked at.
         Once I was in Israel, I completed negotiations with the Mango DAO representatives and
complied with the agreement. During the negotiations, I prioritized coming to an agreement quickly so
users would get paid back quickly. I did not prioritize keeping as much money as possible; this is
evident from the speed and manner in which I engaged in negotiations. I believed that there was
uncertainty as to how much funds I was legitimately entitled to. MNGO token had an intrinsic value of
about 0.14 cents, but the futures of nearly 500 million MNGO tokens had been opened at a price of
slightly below 0.04 cents. This suggested that if MNGO was fairly valued at 0.14, then I was entitled to
a profit of about $50 million. I also thought it was possible that all of the funds I had obtained were
legitimate. However, with the legal uncertainty, and my desire to resolve it quickly and get users paid
back, I agreed to a lower amount of approximately $35 million in profits paid out. In my emails to
Mango, I characterized my proposal as returning all of the funds, and receiving a payment from the
insurance fund of my profits, which would netted against the funds I was to return.
         While incarcerated, I have endured many challenging conditions. As mentioned above, I am
highly sensitive to light and noise. Often, I have been unable to control my environment and have been
left to suffer. For example, for several weeks when in MDC Guaynabo quarantine, a bright light was
kept on right above my bed for the majority of the day. When I was in Essex in the dorm, the lights
were kept on the entire day until 11 PM. In Essex, they would also use the loudspeaker at all hours of
the day and night, causing further sensory issues for me. In MDC Brooklyn, at one point I made a small
cover from a towel, to dim the light in my cell. When the officers came around for cell inspection, they
confiscated the towel and threatened me with an incident report if I did it again.
         A different time, officers came by at 6:30 PM on a Friday and again on Monday at 5 AM and
raided my cell. I was forced to strip and an officer threatened me with being sent to the SHU (Special
Housing Unit) if I didn’t “snitch” on others. He threatened me specifically “I can send you to the SHU
and they do 90 days to do an investigation. On day 89, 1 can request to extend it for another 90 days, so
you’ll be stuck there for almost 180 days.” He knew I had done nothing wrong, yet still tore apart my
entire room, throwing books all over the place. I estimate I have been made to strip over 100 times
during my time in custody. It is routine, every time I have an attorney or family visit, every time I have
a court date, or whenever the guards feel like it.
         In every jail I have been in, there were extended periods with my being stuck in my cell, unable
to communicate. In MDC Guaynabo, I spent weeks in quarantine, with 15 minutes allowed out of the
cell. In Grady County, I spent a week entirely in the cell other than 1 hour for “rec” (which just allowed
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access to the unit, not outside.) In Essex, I spent a week in quarantine, stuck in the cell, with short
amounts of time every few days to use a phone or walk around the unit. So far, the only jail that
actually had an “outside yard” was MDC Guaynabo for the 1 week after I exited quarantine before I
was transferred. In MDC Brooklyn, we’ve been locked down more than we’ve been on “normal”
operations. The last month (February 2025) we’ve been locked down because of the elevator not
working. Last year the elevator was blamed for many of the lockdowns. Other times it’s because of
short staff, or fights in other units, or simply no reason given. During a lockdown, we typically get 15
minutes every 3 days for showers and are otherwise in the cell 24 hours a day. During one of the
lockdowns last year, the water was turned off and we were not given sufficient water for several days.
        I have had many issues with visitation. In Essex, my parents tried to visit whenever they could,
but on some occasions they were turned away due to a sudden “lockdown.” In MDC Brooklyn, they
would regularly cancel visits due to lockdowns. I also had significant issues with my parents visiting
due to the timing. I was recently moved to a unit where most of the Jews in MDC Brooklyn are held.
The visit day for that unit is Friday. As my parents are Orthodox Jews, they are unable to travel after
sundown on Friday. I spent months trying to get a religious accommodation to get visits on a different
day. I was repeatedly told that they would approve it, but I just had to come back again next week and
request it again. With something like 8 written requests and many verbal requests, I was eventually told
that they could not approve a different day, but could approve Friday morning from 10-11. The next
week, my parents showed up at 10 AM and were turned away. The unit manager who had told me they
were approved now denied saying that. Eventually, I was able to get written confirmed approval for
12PM on Friday, although they often need to leave early to ensure they are back in Monsey before
sundown. Recently I have been told that they will no longer approve this accommodation, and the visits
remain in flux. MDC Brooklyn has also created an arbitrary policy that only immediate family can
visit. One of my friends put in the effort to get approved to visit, but before he could come, MDC
Brooklyn put this policy into place and he has been unable to visit me.
        During a recent lockdown, I got sick and threw up in my cell for several days. While they did
have someone from medical see me and prescribe medication, he told me that pill-line would refuse to
provide it because “it’s already on commissary.” Commissary only comes once every two weeks, so
that didn’t help me get the medically required medication in time for it to actually help me.
        While I was in Essex, in October 2023, 1 heard about the attack on Israel. I have two siblings
and many other relatives and friends in Israel and I was very concerned for their welfare. I could not
communicate with my family for several days to find out if everyone was ok. Eventually, I heard that
my family had been fine, but that one of my close friends in Puerto Rico, Yotam, had lost a family
member in the attack. Hearing about the details of the attacks affected me deeply. I can still remember
now, sitting on my bed in Essex with limited access to news, getting updates every few hours with
higher death tolls and tragic stories. Slowly, I began connecting my horror at the brutality of the attacks
with my own actions, which, as I explained above, in their own way contributed to other children being
harmed. I have resolved never to seek out or be involved in any way with child pornography again. In
addition to the reasons described above, I would view it as a desecration and a betrayal of all those that
suffered. I teared up recently, reading an article about the experiences of some of the child hostages. I
think and hope that I have sufficient motivation to get the help I need and avoid committing any such
crimes in the future.
        I believe that all of these experiences contributed to my emotional state, and help explain the
context of my conduct. Going through these attacks and threats, both financial and physical, made me
overly focused on myself and what I could do to help myself. I did not have much emotional space to
consider the impact of my actions on others, and I did not take life all that seriously. (The bio on my
Twitter account was a quote from someone who said I was “not a very serious person.”) I’d like to
think that I’ve changed in jail. For one, being together with so many people, not all of whom get along,
has forced me to more carefully think about the impact of my actions on a day-to-day basis. The
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unwanted touching discussed above has also contributed to this. The online world kind of felt like a
game, where any consequences were far away and could be easily ignored. Seeing people fight right in
front of me makes it seem much more real. There were two murders in my building this year, and
countless stabbings and fights. But more than that, I’ve had ample time to reflect on many things. I’ve
read many dozens of books in prison, as well as subscribing to many magazines. I’ve read books and
articles on philosophy, including on criminal justice; biographies; tragedies and stories of redemption;
finance and trading; and others. I’ve also read thousands of legal cases. I feel more well-rounded than I
was before I came to jail, and I have a much better understanding of the justice system and the
rationales of the laws. I have also improved my emotional state to a much healthier one. Having this
experience has helped me put life into perspective. I am able to be self -critical and to take a broader
perspective. I have reflected on my past behavior and regret the harm I caused people - not only with
regard to my offense conduct, but in general. (For example, when recently reviewing some of my
online comments from years ago in discovery, I realized and regretted the tone and language that I had
used. This may seem trivial, but it is what stuck out to me.)
        While I am in prison, I will continue to educate myself further. Some of the books I have read,
such as Walter Isaacson’s biographies, have made me more ambitious. I know I have a lot of potential,
and the last thing I want is to waste it. When I am released, I intend to use my talents and knowledge
for good. I don’t know the exact form that might take - 1 might continue with trading and investments
(while making sure to comply with all applicable laws), or I might start a company as I once did. What
I am confident of, and can promise both you and society, is that I won’t break any more laws. I don’t
want to be in this situation again, and I don’t want to hurt anyone. Other people should not and will not
have to suffer because of me. As I told the psychologists who evaluated me, I am ready to take any
counseling that can help me stay out of trouble and fulfill this promise.
        I apologize to everyone I have hurt. I take full responsibility for my actions.

                                                    Sincerely


                                                    Avraham Eisenberg
